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UNITED STATES DISTRICT COURT                                                              11/9/20
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
Tavarez,                                                               :
                                                                       :
                                    Plaintiff,                         :     20-cv-01128 (AJN)
                                                                       :
                  -v-                                                  :          ORDER
                                                                       :
Fondue 26, LLC, et al.,                                                :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- :
                                                                       X

ALISON J. NATHAN, United States District Judge:

         A pretrial conference in this matter is scheduled for November 13, 2020 at 3:45 P.M. In
light of the COVID-19 public health crisis, the Court will not hold the upcoming initial pretrial
conference in this case in person. The parties were required to submit their proposed case
management plan and joint letter seven days prior to the scheduled conference, as directed in the
Court’s Notice of Initial Pretrial Conference. The parties in this case have not yet submitted
their proposed case management plan or their joint letter. The parties must do so no later
than November 11, 2020 and advise the Court if they can do without a conference. If so, the
Court may enter a case management plan and scheduling order and the parties need not appear.
If not, the Court will hold the initial pretrial conference by telephone, which can be accessed by
dialing into the Court’s dedicated AT&T Conference line (888) 363-4749 and entering access
code 9196964#. In either case, counsel should review and comply with the Court’s Emergency
Individual Rules and Practices in Light of COVID-19, available at
https://www.nysd.uscourts.gov/hon-alison-j-nathan.

        SO ORDERED.

Dated: November 9, 2020                                    __________________________________
       New York, New York                                           ALISON J. NATHAN
                                                                  United States District Judge
